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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

In re: PARAQUAT PRODUCTS                     )
LIABILITY LITIGATION                         )
                                             )       Case No. 3:21-MD-3004-NJR
                                             )
                                             )       MDL No. 3004
This Document Relates to All Cases           )

                                 ENTRY OF APPEARANCE

       COMES NOW Kaitlin A. Bridges of Gray, Ritter & Graham, P.C. and enters her

appearance as counsel for Plaintiff Charles Strickland.

       Dated: June 23, 2021          Respectfully Submitted,

                                     By: /s/ Kaitlin A. Bridges

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 23rd day of June 2021, the foregoing was
filed electronically with the Clerk of Court to be served by the operation of the Court’s electronic
filing system upon all counsel of record.

                                                             /s/ Kaitlin A. Bridges




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